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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT

                                                      )
 RUDA ANDERSON,
                                                      )
                                                      )
                 Plaintiff,
                                                      )
                                                      )
        v.
                                                      )
                                                      )
 AIRCASTLE LIMITED, PETER V.
                                                      )      CASE NO.: 3:20-cv-00017
 UEBERROTH, RONALD W. ALLEN,
                                                      )
 GIOVANNI BISIGNANI, MICHAEL J.
                                                      )
 CAVE, DOUGLAS A. HACKER, JUN
                                                      )
 HORIE, TAKASHI KURIHARA,
                                                      )
 TAKAYUKI SAKAKIDA, RONALD L.
                                                      )
 MERRIMAN, AGNES MURA, CHARLES
                                                      )
 W. POLLARD, and MICHAEL J. INGLESE,
                                                      )
                                                      )
                 Defendants.
                                                      )

                              NOTICE OF VOLUNTARY DISMISSAL

       Notice is hereby given pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil Procedure

that plaintiff Ruda Anderson (“Plaintiff”) voluntarily dismisses the claims in the captioned action

(the “Action”) with prejudice. Because this notice of dismissal is being filed with the Court before

service by defendants of either an answer or a motion for summary judgment, Plaintiff’s dismissal

of the Action is effective upon the filing of this notice.

Dated: March 9, 2020                       LEVI & KORSINSKY, LLP

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                                            - and -
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